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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

       IN RE:                                                        CASE NO. 24-32537

        Shawnda Elizabeth Richardson                                 CHAPTER 13
       DEBTOR



                  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

     TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                 Please take notice that the undersigned firm of attorneys is appearing on behalf of the
     following party in the above referenced bankruptcy case:

            Deutsche Bank National Trust Company, as Trustee for Ameriquest Mortgage
     Securities Inc., Asset-Backed Pass-Through Certificates, Series 2005-R8, regarding real estate
     located at 1635 W DONOVAN ST, HOUSTON, TX 77091.

                 This party is a party in interest in this case and a secured creditor of the Debtor.
                 Pursuant to Rule 2002 of the Bankruptcy Rules, the undersigned hereby requests that all
     notices given or requested to be given and all papers served or required to be served in this case be
     given to and served upon the undersigned at the office address and telephone number set forth
     below.
                                                        Respectfully submitted,
                                                        Codilis & Moody, P.C.

                                                        By: /s/ Kathryn Dahlin
                                                        Kathryn N. Dahlin SBOT#24053165
                                                        Kerrie S. Mattson-Neal ARDC#6270224
                                                        Nicole Bartee SBOT#24001674
                                                        Marla A. Skeltis SBOT#24136182
                                                        TX.bkpleadingsSOUTH@tx.cslegal.com
                                                        20405 State Highway 249, Suite 170
                                                        Houston, TX 77070
                                                        Telephone: (281) 925-5200
                                                        ATTORNEYS FOR SECURED CREDITOR
                                                        File No. 44-24-00213
NOTE: This law firm is a debt collector.
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                                           CERTIFICATE OF SERVICE

         I hereby certify that on June 6, 2024, a true and correct copy of the above and foregoing
documents shall be served via electronic means, if available, otherwise by regular, first class mail on
June 6, 2024 to the following parties at the addresses indicated by deposit in the United States Mail,
first class postage prepaid.

Karen Kisch
6915 Kelsey Rae Court
Houston, TX 77069
ATTORNEY FOR DEBTOR

Tiffany D Castro
9821 Katy Freeway, Ste 590
Houston, TX 77024
CHAPTER 13 TRUSTEE



                                                Respectfully submitted,
                                                Codilis & Moody, P.C.

                                                /s/ Kathryn Dahlin
                                                Kathryn N. Dahlin SBOT#24053165
                                                Kerrie S. Mattson-Neal ARDC#6270224
                                                Nicole Bartee SBOT#24001674
                                                Marla A. Skeltis SBOT#24136182
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                                                ATTORNEYS FOR SECURED CREDITOR
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